                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE

NIKKI BOLLINGER GRAE, Individually and )             Civil Action No. 3:16-cv-02267
on Behalf of All Others Similarly Situated, )
                                            )        Judge Aleta A. Trauger
      Plaintiff,                            )
                                            )        Magistrate Judge Jeffery Frensley
v.                                          )
                                            )
CORRECTIONS CORPORATION OF                  )
AMERICA, et al.,                            )
                                            )
      Defendants.                           )


                        MOTION FOR ADMISSION PRO HAC VICE

       The undersigned counsel for Defendants CoreCivic, Inc., formerly known as Correction

Corporation of America, Damon T. Hininger, David M. Garfinkle, Todd J. Mullenger, and Harley

G. Lappin hereby moves for admission to appear pro hac vice in this action. I hereby certify that I

am a member in good standing of the United States District Court for the Central District of

California. Attached is a Certificate of Good Standing from that court. I also declare under penalty

of perjury that I am not, nor have I ever been, the subject of criminal proceedings nor disciplinary

proceedings by any disciplinary authority, nor have I had a finding of contempt or a sanction

against me under 28 U.S.C. § 1927.

                                                     /s/ Meryn C. N. Grant
                                                     Meryn C. N. Grant

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this 10th day of July, 2020.

                                                     /s/ Steven A. Riley
                                                     Steven A. Riley




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